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UNITED STATES DISTRICT COURT — ANESSAL 4e*re">nNg CLERK

WESTERN DISTRICT OF KENTUCKY FEB 15 2019
LOUISVILLE DIVISION /
U.S. DISTRICT
MINERVA WILLIS, _ WEST'N. DIST. KENTUSKY
Plaintiff

CASENO.: 2,51@-cV-/23-06)
VS. |

USAA FEDERAL SAVINGS BANK,

Defendant
/

 

COMPLAINT AND DEMAND FOR JURY TRIAL
COMES NOW, Plaintiff, Minerva Willis, by and through the undersigned counsel, and
sues Defendant, USAA FEDERAL SAVINGS BANK (hereinafter “Defendant’), and in support
thereof respectfully alleges violations of the Telephone Consumer Protection Act, 47 U.S.C. §
227 et seq. (“TCPA”).
INTRODUCTION

1. The TCPA was enacted to prevent companies like USAA FEDERAL SAVINGS
BANK from invading American citizen’s privacy and to prevent abusive “robo-calls.”

2. “The TCPA is designed to protect individual consumers from receiving intrusive
and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, 132 8. Ct. 740 (2012).

3. “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the scourge of
modern civilization, they wake us up in the morning; they interrupt our dinner at night; they
force the sick and elderly out of bed; they hound us until we want to rip the telephone out of the
wall.” 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to give telephone

subscribers another option: telling the autodialers to simply stop calling.” Osorio v. State Farm

Bank, F.S.B., 746 F. 3d 1242, 1256 (11" Cir. 2014).

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4. According to the Federal Communications Commission (FCC), “Unwanted calls
and texts are the number one complaint to the FCC. There are thousands of complaints to the
FCC every month on both telemarketing and robocalls. The FCC received more than 215,000
TCPA complaints in 2014." Fact Sheet: Wheeler Proposal to Protect and Empower Consumers
Against Unwanted Robocalls, Texts to Wireless Phones, Federal Communications Commission,
(May 27, 2015), https://apps.fcc.gov/edocs_public/attachmatch/DOC-333676A1 .pdf.

JURISDICTION AND VENUE

5. Jurisdiction and venue for purposes of this action are appropriate and conferred by
28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves violations of the TCPA.

6. Subject matter jurisdiction, federal question jurisdiction, for purposes of this
action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the district courts
shall have original jurisdiction of all civil actions arising under the Constitution, laws, or treaties
of the United States; and this action involves violations of 47 U.S.C. § 227(b)(1)(A)(ii). See
Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012) and Osorio v. State Farm Bank, F.S.B.,
746 F.3d 1242, 1249 (11 Cir. 2014).

7. The alleged violations described herein occurred in Jefferson County, Kentucky.
Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2), as it is the
judicial district in which a substantial part of the events or omissions giving rise to this action
occurred.

FACTUAL ALLEGATIONS
8. Plaintiff is a natural person, and citizen of the State of Kentucky, residing in

Jefferson County.
 

 

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9. Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d
1265 (11 Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11"™ Cir. 2014).

10. Defendant is a corporation which was formed in Texas with its principal place of
business located at 9800 Fredericksburg Road, San Antonio, Texas 78288, and which conducts
business in the State of Kentucky through its registered agent, Corporation Service Company,
located at 421 West Main Street, Frankfort, Kentucky 40601.

11. Defendant called Plaintiff approximately one hundred (100) times in an attempt to
collect a credit card debt.

12. Upon information and belief, some or all of the calls Defendant made to
Plaintiff's cellular telephone number were made using an “automatic telephone dialing system”
which has the capacity to store or produce telephone numbers to be called, using a random or
sequential number generator (including but not limited to a predictive dialer) or an artificial or
prerecorded voice; and to dial such numbers as specified by 47 U.S.C § 227(a)(1) (hereinafter
“autodialer calls”). Plaintiff will testify that her knew it was an autodialer because of the vast
number of calls she received and because she heard a pause when she answered her phone before
a voice came on the line, and she received prerecorded messages from Defendant.

13. Plaintiff believes the calls were made using equipment which has the capacity to
store numbers to be called and to dial such numbers automatically.

14. Plaintiff is the subscriber, regular user and carrier of the cellular telephone
number (502) *** - 8504, and was the called party and recipient of Defendant’s calls.

15. | Defendant placed an exorbitant number of calls to Plaintiff’s cellular telephone

(502) *** - 8504 in an attempt to collect on a credit card debt.
 

 

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16. On several occasions over the last four (4) years, Plaintiff instructed Defendant’s
agent(s) to stop calling her cellular telephone.

17. On or about October 23, 2018, Plaintiff communicated with Defendant from her
aforementioned cellular telephone number and instructed Defendant’s agent to cease calling.

18. By taking the aforementioned action, Plaintiff unequivocally revoked any express
consent Defendant had for placement of telephone calls to Plaintiff's aforementioned cellular
telephone number by the use of an automatic telephone dialing system or a pre-recorded or
artificial voice.

19. Each subsequent call the Defendant made to the Plaintiffs aforementioned
cellular telephone number was done so without the “express consent” of the Plaintiff.

20. | Each subsequent call the Defendant made to the Plaintiff's aforementioned
cellular telephone number was knowing and willful.

21. Plaintiff's conversation with Defendant’s representative(s) over the telephone
wherein she demanded a cessation of calls was in vain as Defendant continued to bombard her
with automated calls unabated.

22. ‘Defendant has placed approximately one hundred (100) calls to Plaintiff's
aforementioned cellular telephone number. The exact number of calls will be established after a
thorough review of Defendant’s records.

23. Defendant has a corporate policy to use an automatic telephone dialing system or
a pre-recorded or artificial voice to individuals just as they did to Plaintiff's cellular telephone in

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this case.
 

 

 

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' 24. Defendant has a corporate policy to use an automatic telephone dialing system or

a pre-recorded or artificial voice, just as they did to the Plaintiff's cellular telephone in this case,
with no way for the consumer, or Defendant to remove the number.

25. | Defendant’s corporate policy is structured so as to continue to call individuals like
Plaintiff, despite these individuals explaining to USAA they do not wish to be called.

26. Defendant has numerous other federal lawsuits pending against them alleging
similar violations as stated in this Complaint.

27. Defendant has numerous complaints against it across the country asserting that its
automatic telephone dialing system continues to call despite being requested to stop.

28. Defendant has had numerous complaints against it from consumers across the
country asking to not be called, however Defendant continues to call these individuals. |

29. Defendant’s corporate policy provided no means for Plaintiff to have Plaintiff's
number removed from Defendant’s call list.

30. | Defendant has a corporate policy to harass and abuse individuals despite actual
knowledge the called parties do not wish to be called.

31. Not one of Defendant’s telephone calls placed. to Plaintiff were for “emergency
purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

32. Defendant willfully and/or knowingly violated the TCPA with respect to Plaintiff.

33. | From each and every call placed without express consent by Defendant to
Plaintiff's cell phone, Plaintiff suffered the injury of invasion of privacy and the intrusion upon
her right of seclusion.

34. From each and every call without express consent placed by Defendant to

Plaintiff's cell phone, Plaintiff suffered the injury of the occupation of her cellular telephone line
 

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and cellular phone by unwelcome calls, making the phone unavailable for legitimate callers or
outgoing calls while the phone was ringing from Defendant’s call.

35. | From each and every call placed without express consent by Defendant to
Plaintiff's cell phone, Plaintiff suffered the injury of unnecessary expenditure of her time. For
calls she answered, the time she spent on the call was unnecessary as she repeatedly asked for the
calls to stop. Even for unanswered calls, Plaintiff had to waste time to unlock the phone and deal
with missed call notifications and call logs that reflect the unwanted calls. This also impaired the
usefulness of these features of Plaintiff’s cellular phone, which are designed to inform the user of
important missed communications.

36. Each and every call placed without express consent by Defendant to Plaintiff's
cell phone was an injury in the form of a nuisance and annoyance to the Plaintiff. For calls that
were answered, Plaintiff had to go to the unnecessary trouble of answering them. Even for
unanswered calls, Plaintiff had to waste time to unlock the phone and deal with missed call
notifications and call logs that reflected the unwanted calls. This also impaired the usefulness of
these features of Plaintiffs cellular phone, which are designed to inform the user of important
missed communications.

37. Each and every call placed without express consent by Defendant to Plaintiff's:
cell phone resulted in the injury of unnecessary expenditure of Plaintiff's cell phone’s battery
power. —

38. Each and every call placed without express consent by Defendant to Plaintiff's

cell phone where a voice message was left which occupied space in Plaintiffs phone or network.
 

 

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39. Each and every call placed without express consent by Defendant to Plaintiffs
cell phone resulted in the injury of a trespass to Plaintiffs chattel, namely her cellular phone and
her cellular phone services.

40. As a result of the calls described above, Plaintiff suffered an invasion of privacy
and intrusion upon her right to seclusion.

41. As a result of the calls above, Plaintiff was also affect in a personal and

individualized way by stress, anxiety, nervousness, embarrassment, distress and aggravation.

COUNT I
(Violation of the TCPA)

42. Plaintiff fully incorporates and realleges paragraphs one through forty-one (41) as
if fully set forth herein.

43. Defendant willfully violated the TCPA with respect to Plaintiff, specifically for
each of the auto-dialer calls made to Plaintiff's cellular telephone after Plaintiff notified
Defendant that Plaintiff wished for the calls to stop

44. Defendant repeatedly placed non-emergency telephone calls to Plaintiff's cellular
telephone using an automatic telephone dialing system or prerecorded or artificial voice without
Plaintiff's prior express consent in violation of federal law, including 47 U.S.C §
227(b)(1)(A) (iii).

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against USAA FEDERAL SAVINGS BANK for statutory damages, punitive damages,
actual damages, treble damages, enjoinder from further violations of these parts and any other

such relief the court may deem just and proper.
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Respectfully submitted,

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\Wdnelle Neal, Esq.

Pro Hac Vice Pending

Florida Bar #: 774561

Morgan & Morgan, Tampa, P.A.
One Tampa City Center

201 N. Franklin Street, 7th Floor
Tampa, FL 33602

Tele: (813) 223-5505

Fax: (813) 223-5402
JNeal@forthepeople.com;
MMartinez@forthepeople.com
Attorney for Plaintiff

 
